US. Department of Justice Document 93 FIle OS ekkOe ea pp To AD RETURN

United States Marshals Service

PLAINTIFF UNITED STATES OF AMERICA FI jr CASE NUMBER CR 04-10372-WGY
i PL ERKS OFFICE
DEFENDANT Jess Siciliano et al. TYPE OF PROCESS Money Judgment _
70 MAR 19 P 3 28 rm wn
SERVE | name or INDIVIDUAL, COMPANY, CORPORATION, ETC TO SERVE OR DESCRIPTION OF PROPERTY TO SERB OR CONQEMN
i . 709101 in the amounkoft $168.
> U.S.P.S. Postal Money Order Reeias Number leaps (0 = $B
AT ADDRESS (Streeé or REDD, Apartinent No , City, Stake) phy ER tea) rir ie 4 S 5. \
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SEND NOTICE OF SERVICE TO REQUESTER AT NAME AND ADDRESS BELOW: | Number of process

| with this Form - 28

Number of parties to"Be served “J
in thts case J co
Lat

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Kristina E. Barclay, Assistant U.S. Attorney

John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 9200
Boston, MA 02210 |

|
United States Attorney's Office |
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Check for serviee on US A

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE CUnclude Business and
Alternate Address, All Telephone Numbers, and Estimated Times Available For Service)

Please dispose of the above-described property in accordance with the attached Money Judgment and applicable law.

CATS ID No. 10-DEA-527755 JLJ x3297

Signature of Attorney or other Originator requesting service on behalf of : TELEPHONE DATE
& PLAINTIFF NUMBER
O DEFENDANT 2/24/2010

Anatina ©. (Der etey {3u (617) 748-3100

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

] acknowledge receipt for the total Total Process District of Ongin Distriet to Serve Signature of Authorized USMS Deputy or Clerk Date

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“e . . u . .
I hereby certify and return that I CT have personally served, O have legal evidence of service, D have executed as shown in “Remarks”, the process described on the
indsvidual. company, corporation, etc. at the address shown above or on the individuat, company, corporation, ete., shown at the address inserted below.

O hereby certify and returm that] am unable to loeale the individual, company, corporation, ete , named aboye ee remarks betow)

Name and lille of individual served f/f nod shown above}, A person of suitable age and discrenon then residmg
oO in the defendant’s usual place of abode
Address (complete only if different than shawn above) Dale of Service Time am

s fpf se pm

Signature of US Marshal or Deputy

Service Fee Toral Mileage Charges Forwardmg Fee Total Charzes Advance Deposits Amount Otwed lo US Marshal or Amount or Refund
finclucine endeavors)

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REMARKS Ve OC, le d iy bey 4 hue Hssed Kde; du, A. fw we, 9

BR USER) ONS MAY 1, CLERK OF THE COURT FORM USM 285 (Rev. 12/15/80)

GO USMS RECORD © NOTICE OF SERVICE O BILLING STATEMENT 0 ACKNOWLEDGMENT OF RECEIPT

